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 1                                 UNITED STATES DISTRICT COURT
 2                                         DISTRICT OF NEVADA
 3                                                     ***
 4    LINDBERGH AND SHINE LLC,                                Case No. 2:17-cv-03082-APG-PAL
 5                            Plaintiff,
                                                              ORDER DEEMING ORDER TO SHOW
 6             v.                                             CAUSE SATISFIED
 7    PWT GROUP A/S, et al.,
 8                            Defendants.
 9

10             In light of plaintiff Lindbergh and Shine, LLC’s response to the order to show cause (ECF

11   No. 6),

12             IT IS ORDERED that the order to show cause (ECF No. 5) is deemed satisfied. I will not

13   dismiss this case for lack of subject matter jurisdiction at this time. However, it remains the

14   plaintiff’s obligation to establish that subject matter jurisdiction exists.

15             DATED this 9th day of January, 2018.

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17                                                           ANDREW P. GORDON
                                                             UNITED STATES DISTRICT JUDGE
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